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                        UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF VIRGINIA
                                 Richmond Division

In re: CIRCUIT CITY STORES, INC., et al.,               Case No. 08-35653-KRH
                  Debtors.                              Chapter 11
                                                        (Jointly Administered)
____________________________________

ALFRED H. SIEGEL, Trustee of the
Circuit City Stores, Inc. Liquidating Trust,

                      Plaintiff,

               v.                                       Adv. Pro. No. 19-03091-KRH

UNITED STATES TRUSTEE PROGRAM, et al.,

                  Defendants.
_____________________________________

ALFRED H. SIEGEL, Trustee of the
Circuit City Stores, Inc. Liquidating Trust,

                      Plaintiff,

               v.                                       Adv. Pro. No. 19-03060-KRH

JOHN P. FITZGERALD, Acting United States
Trustee for Region Four,

                  Defendant.
_____________________________________

                ORDER CONSOLIDATING ADVERSARY PROCEEDINGS

         In the interest of judicial economy, it is hereby ORDERED that the above-captioned

adversary proceedings shall be CONSOLIDATED. All filings shall be made only in Siegel v.

United States Trustee Program, Adv. Pro. No. 19-03091-KRH.

Dated:     September 12, 2022               /s/ Kevin R. Huennekens
                                           UNITED STATES BANKRUPTCY JUDGE

                                           Entered on Docket:   Sept 12 2022
